           Case 1:15-vv-01021-UNJ Document 30 Filed 05/27/16 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1021V
                                      Filed: April 20, 2016
                                          Unpublished
*********************************
CHRISTINA L. MURRAY,                              *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Stephen Joseph Mathieu, Stephen J. Mathieu Attorney, Beaverton, OR, for petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

      On September 14, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that she developed a rotator cuff tear and other
shoulder injuries as a result of receiving a seasonal influenza (“flu”) vaccine on
September 19, 2013. On February 24, 2016, the undersigned issued a decision
awarding compensation to petitioner based on respondent’s proffer. (ECF No. 21).

       On April 19, 2016, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 25). Petitioner requests attorneys’ fees in the amount of $9,620.00 and attorneys’
costs in the amount of $534.71 for a total amount of $10,154.71. Id. at 1.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-01021-UNJ Document 30 Filed 05/27/16 Page 2 of 2



       In compliance with General Order #9, petitioner has filed a signed statement
indicating that he incurred no out-of-pocket expenses. (ECF No. 26).

       On April 19, 2016, respondent’s counsel indicated by e-mail correspondence that
respondent has no objection to petitioner’s motion. (Informal Communication, dated
April 20, 2016).

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $10,154.71 3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Stephen Joseph Mathieu.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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